Case 1:25-cv-00484-JCB   Document 59-7   Filed 05/27/25   Page 1 of 8 PageID #: 2685




                    EXHIBIT G
Case 1:25-cv-00484-JCB   Document 59-7   Filed 05/27/25   Page 2 of 8 PageID #: 2686
Case 1:25-cv-00484-JCB   Document 59-7   Filed 05/27/25   Page 3 of 8 PageID #: 2687
Case 1:25-cv-00484-JCB   Document 59-7   Filed 05/27/25   Page 4 of 8 PageID #: 2688
Case 1:25-cv-00484-JCB   Document 59-7   Filed 05/27/25   Page 5 of 8 PageID #: 2689
Case 1:25-cv-00484-JCB   Document 59-7   Filed 05/27/25   Page 6 of 8 PageID #: 2690
Case 1:25-cv-00484-JCB   Document 59-7   Filed 05/27/25   Page 7 of 8 PageID #: 2691
Case 1:25-cv-00484-JCB   Document 59-7   Filed 05/27/25   Page 8 of 8 PageID #: 2692
